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 5

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 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-000204-TLN
12                                 Plaintiff,            STIPULATION AND ORDER DISMISSING
                                                         CHARGE ONE WITHOUT PREJUDICE,
13                           v.                          WAIVING PRELIMINARY HEARING DATE,
                                                         AND SETTING ADMIT/DENY HEARING DATE
14   CHRISTOPHER M. GRADY,
                                                         DATE: November 20, 2019
15                                Defendant.             TIME: 2:00 p.m.
                                                         COURT: Hon. Carolyn K. Delaney
16

17

18                                               STIPULATION
19          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

20 through defendant’s counsel of record, hereby stipulate as follows:

21          1.       By previous order, this matter was set for Preliminary Hearing on November 20, 2019.

22          2.       By this stipulation, the United States now moves to dismiss without prejudice Charge 1 in

23 the Petition for Warrant or Summons for Offender Under Supervision. Docket 177.

24          3.       The United States has discussed with the Probation Officer in this case, who agrees with

25 the request for dismissal without prejudice of Charge 1 and is no longer recommending detention. By

26 this stipulation, the parties now move for the release of the defendant under (1) all the conditions he is

27 currently subject to under his supervised release and (2) an additional special condition stating that “The

28 offender shall not have contact directly or indirectly with the confidential victim listed in Modesto

      STIPULATION REGARDING DISMISSAL OF CHARGE          1
      ONE AND WAIVER OF PRELIMINARY HEARING
                Case 2:15-cr-00204-TLN Document 183 Filed 11/20/19 Page 2 of 2


 1 Police Report number MP19030825.”

 2         4.       By this stipulation, the defendant now waives his right to a Preliminary Hearing and the

 3 parties now move to vacate the Preliminary Hearing set on November 20, 2019.

 4         5.       By this stipulation, the parties now move to set an Admit/Deny Hearing on December 5,

 5 2019 at 9:30 AM.

 6         6.       The defendant made his initial appearance on November 18, 2019.

 7         IT IS SO STIPULATED.

 8

 9
     Dated: November 19, 2019                               MCGREGOR W. SCOTT
10                                                          United States Attorney
11
                                                            /s/ TANYA B. SYED
12                                                          TANYA B. SYED
                                                            Assistant United States Attorney
13

14
     Dated: November 19, 2019                               /s/ LINDA ALLISON
15                                                          LINDA ALLISON
16                                                          Counsel for Defendant
                                                            CHRISTOPHER M. GRADY
17

18
                                                     ORDER
19
           IT IS SO FOUND AND ORDERED
20
     Dated: November 20, 2019
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      STIPULATION REGARDING DISMISSAL OF CHARGE         2
      ONE AND WAIVER OF PRELIMINARY HEARING
